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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                              CR 16–26–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 BRANDON ALLEN OLEAN,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on August 31, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Brian Wayne Rogers’ guilty

plea after Rogers appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of possession with the

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intent to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1), as set

forth in Count III of the Indictment. In exchange for Defendant’s plea, the United

States has agreed to dismiss Count I of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

65), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Brandon Allen Olean’s motion to

change plea (Doc. 43) is GRANTED and Brandon Allen Olean is adjudged guilty

as charged in Count III of the Indictment.

      DATED this 15th day of September, 2016.




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